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JAMES J. DAVID5ON, JR.
(19o4-1990)
                                     ForutEruor, GTDEoN & Eowenos                                            OF COUNSEL:
                                                                                                      ROBERT R. MCARIDE, RET
RICHARO C. MEAUX, SR.
(1921-2OOA)
                              EXHIBIT "D"                                                                MARK C. ANORUS
                                                                                                        ARTHUR D. MOUTON
JAMES J. DAVIDSON, III                      A LIMITED LIA,BILITY PARTNERSHIP
V. FARLEY SONNIER
It942-19A7)
                                                  ATTORNEYS AT LAW
JOHN E. MCELLIGOTT' JR T
PHILIP A. FONTENOT T
KYLE L. GIDEON T                                AIO SOUTH BUCHANAN STREET
THEODORE G. EDWARDS, IV                            POST OFFTCE BOX 290A
CHRISTOPHER J. PIASECKI t                         LAFAYETTE, LA 7O5O2-29OA
KEVIN M. DILLS T
ROBERT D. FELDER T                                 TELEPHONE:    (337) 237-1660
                                                      FAx:   (337) 23-7-36-t6                            WRITER'S EMAIL
JAMI LACOUR   ISHEE                                                                                          ADDRESS;
KATIE BERGERON WILLIAMS
                                                                                                     oedwordr@ovidsonmeoux.com

                                                      February 7,2020

          GERT|FTED MA|L NO. 70191120 0000 1805 0711
          RETURN RECETPT NO.9590 9402 5308 9t5/r 1051 13

          Wildcat Fluids
          ATTENTION: Mr. Jeff Weber
          1862 FM 534
          Mathis,'l-X 78368
                      Re:    RomacEnvironmentalServices,LLC

          Dear Mr. Weber:

                      This firm has the pleasure of representing Romac Environmental Services, LLC and in
          that oapacity we have been asked to assist them in the collection of an outstanding
          indebtedness undertaken by you.

                 The amount presently past due by you is $299,621.60, which amount is long past due
          The outstanding amount is represented by the attached statement.

                 The foregoing account is seriously past due and, as such, we have been instructed to
         make demand upon you for payment of the foregoing balance in full within ten (10) days of your
         receipt of this correspondence. Your failure to pay will result in suit being filed against you for
         the collection of this indebtedness together with the full principal amount owed, accrued interest,
         late charges, aftorney's fees, and costs of court, without further notice to you.

                 Your failure to timely comply with the demands in this correspondence will result in
         further legal action against you as herein described.

              -  Unless you notify us in writing within thirty (30) days after your receipt of this letter that
         you dispute this debt or any part thereof, we will assume that it is a valid debt. lf you do notify
         me within the thirty (30) day period, we will obtain verification of the debt and a copy of such
         veification will be mailed to you.
               I AM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT                            A DEBT, AND
         ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

                                                        Very truly yours,

                                                        DA                M       SONNI       McELLIGOTT,
                                                                                          &           LLP



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 7nm$            0000294-lN             8/30/2019                                                   0.00     22,705.44            0.00               000              0.00              0.00            n,705,44             154

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 9v2019          00003781N             980/2019                                                     0.00     22,705.44            0.00               0.00             000               0.00            n,705,u              IE
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